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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                        )
ECOLOGICAL RIGHTS FOUNDATION,           )
                                        )
          Plaintiff,                    )
                                        )
     v.                                 )
                                        )    Civil Action No. 19-0980 (BAH)
U.S. ENVIRONMENTAL PROTECTION           )
AGENCY,                                 )
                                        )
          Defendant.                    )
                                        )
                                        )

    PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN
 SUPPORTS OF ITS CROSS-MOTION FOR SUMMARY JUDGMENT AND IN
  OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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        Despite the fact that Defendant Environmental Protection Agency’s (“EPA”) final

determination was due nearly two years ago for Ecological Rights Foundation’s

(“EcoRights”) Freedom of Information Act (“FOIA”) request (“FOIA Request”),

EcoRights has still yet to receive a full production of records responsive to that Request.

Instead of promptly producing all non-exempt records, as EPA is required by law to do,

EPA has instead continued its heavy handed, baseless redactions of records to which no

FOIA exemption applies and production of which would cause EPA no foreseeable harm.

Only after EcoRights challenged EPA’s purportedly final production of records, made

long after EcoRights filed this lawsuit, did EPA release hundreds of additional records

and remove thousands of wrongful redactions to records it had already produced.

However, EPA has continued to refuse to produce a significant amount of wrongfully

withheld information, even failing to offer any support whatsoever for scores of

redactions. Through this Cross-Motion for Summary Judgment, EcoRights respectfully

requests that the Court order production of this wrongfully withheld information so that

EcoRights will finally have a complete production of records responsive to its FOIA

Request. EPA’s intransigence in the face of its clear duties under FOIA, repeatedly

pointed out by EcoRights during conferral both before and during litigation, should not

be allowed to stand.

   I.      FACTUAL BACKGROUND

        EcoRights submitted the FOIA Request to EPA on August 30, 2018. Dkt. 1-1.

The FOIA Request covers several topics, which can generally be described as (1) whether

certain policies, practices, and procedures have continued at EPA since former

Administrator Scott Pruitt resigned in July 2018, (2) EPA Inspector General




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investigations of former Administrator Pruitt, (3) current Administrator Andrew

Wheeler’s calendar and meeting notes since July 2018, (4) EPA’s policies, practices, and

procedures for processing FOIA requests generally, (5) the specific processing of a

separate FOIA request EcoRights submitted to EPA that is currently in litigation in the

U.S. District Court for the Northern District of California, and (6) EPA’s procedures or

protocols for engaging with the press media under the Trump Administration. Declaration

of Stuart Wilcox (“Wilcox Decl.”) ¶ 3; Dkt. 1-1; Dkt. 19-2 ¶ 1. EPA’s determination on

the FOIA Request was due 20 business days after submission, on September 28, 2018. 5

U.S.C. § 552(a)(6)(A)(i).

       On March 13, 2019, still having received no final determination, estimated

completion date, or responsive records, EcoRights’ counsel reached out to EPA, stating

its intention to file a lawsuit challenging EPA’s actions and inactions regarding the FOIA

Request in one week unless the parties could quickly provide for an efficient resolution of

the FOIA Request. Wilcox Decl. ¶ 7, Ex. 3. Despite EPA’s final determination on the

FOIA Request being nearly 5 months overdue at that point, EPA’s declaration indicates

that EPA had not even begun its search for records at that time. Dkt. 19-2 ¶ 6 (“Around

[March 15, 2019] I began reaching out to subject matter experts in some of the relevant

program offices to begin searching for potentially responsive non-calendar records.”). On

March 15, 2019, EPA produced its first interim production of records; three calendar files

with many redactions under claims that the material was exempt from production under 5

U.S.C. § 552(b)(5), (b)(6), (b)(7)(C), and (b)(7)(F) (FOIA Exemptions 5, 6, 7(C), and

7(F)). Wilcox Decl. ¶ 8, Ex. 4. EcoRights repeatedly disputed the propriety of these

redactions and attempted to encourage EPA to agree to a production schedule and




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estimated completion date for the FOIA Request. Id. ¶¶ 9, 10, 11, 13, 15, 17, 18, 19, 20,

Exs. 5, 6, 8, 10, 12, 14, 15, 16. However, EPA continued to refuse to agree to any

schedule for the resolution of the FOIA Request and continued to produce records with

wrongful redactions that mirrored those that EcoRights had already objected to. Id. ¶¶ 12,

16, 17, 18, 19, 20, Exs. 9, 13, 14, 15, 16.

       Based on the lack of progress on these crucial items, and several others,

EcoRights determined that judicial intervention was necessary and filed this lawsuit on

April 8, 2019 asserting five challenges: (1) that EPA had failed to timely respond to the

FOIA Request and that this was a constructive denial and wrongful withholding of

records, (2) that EPA wrongfully withheld records that were not subject to a FOIA

exemption, (3) that EPA failed to conduct an adequate search for records, (4) that EPA

failed to use a FOIA tracking system, and (5) that EPA failed to provide EcoRights with

an estimated completion date for the FOIA Request. Dkt. 1. EcoRights amended its

complaint on April 15, 2019 to add a sixth claim alleging that EPA has a pattern or

practice of violating FOIA. Dkt. 7.

       On July 31, 2019, EPA indicated that it had completed its search and located

212,609 pages of potentially responsive records. EPA proposed that it release 500 records

per month for 36 months. Wilcox Decl. ¶ 25, Ex. 18. Under this schedule, EcoRights

could not expect a final production of records until nearly two years from today.

EcoRights rejected this proposal, stating that it was far too slow, amongst other issues.

EcoRights proposed an alternative process whereby it provided further guidance

regarding the FOIA Request and asked EPA to provide this guidance to subject matter

experts and employees with knowledge of the requested items so that they could search




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for records. EcoRights proposed that the new search be completed in one month and that

EPA then produce all responsive records within six months from that date. Id. ¶ 26, Exs.

19, 20. The parties subsequently agreed to this proposal and informed the Court of this

agreement on August 14, 2019. See Dkt. 13.

         EPA subsequently produced records through a series of interim productions,

purporting to culminate production and provide an index of records on March 25, 2020.

Wilcox Decl. ¶ 28, Exs. 22, 23, 24. The parties subsequently communicated about several

areas of disagreement regarding records EcoRights maintained were missing and

redactions that EcoRights maintained were improper. Id. ¶¶ 29-36, Exs. 25-30. EPA

produced supplemental productions of records, providing hundreds of additional records

and removing thousands of improper redactions, on June 10, 2020, July 10, 2020, and

August 13, 2020. Id. ¶¶ 30, 33, 36, Exs. 26, 28, 30. EPA filed its Motion for Summary

Judgment on August 17, 2020, Dkt. 19, and then provided EcoRights with a fourth final

supplemental production of records afterward on August 18, 2020. Wilcox Decl. ¶ 37,

Ex. 31. The parties continue to dispute whether EPA’s production of records to date is

complete and whether the redactions that EPA claims for the records it has produced thus

far are proper.

   II.      LEGAL BACKGROUND

         FOIA’s goal is to “ensure an informed citizenry, vital to the functioning of a

democratic society, needed to check against corruption and to hold the governors

accountable to the governed.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242

(1978). FOIA effectuates this purpose by providing citizens with a judicially enforceable

right to secure information from the government. See, e.g., EcoRights v. FEMA, No. 16-




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05254, 2017 U.S. Dist. LEXIS 197451, at *7 (N.D. Cal. Nov. 30, 2017).

       To ensure that the public can timely acquire current information on the

government’s activities, Congress imposed a mandatory deadline whereby agencies must

issue a final determination informing the requester whether requested records will be

released, and of the right to appeal any decision not to provide requested records, within

twenty working days. 5 U.S.C. § 552(a)(6)(A)(i); see also Citizens for Responsibility &

Ethics in Wash. v. Fed. Elec. Comm’n, 711 F.3d 180, 186-89 (D.C. Cir. 2013). FOIA

further requires agencies to produce requested records “promptly.” 5 U.S.C. §

552(a)(3)(A); CREW v. FEC, 711 F.3d at 188 (prompt record production “typically

would mean within days or a few weeks of a ‘determination,’ not months or years.”).

       FOIA requires that an agency release all requested records unless they fall under a

specifically enumerated exemption. 5 U.S.C. § 552(b). “Consistent with the Act’s goal of

broad disclosure, these exemptions have been consistently given a narrow compass.”

Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8 (2001) (citation

omitted). The FOIA Improvement Act of 2016 (“FIA”) further tightened this stringent

standard with the new requirement that agencies must show, not only that withheld

records fall within an exemption, but that disclosure would harm an interest protected by

an exemption—what is referred to as the “foreseeable harm standard.” 5 U.S.C. §

552(a)(8)(A)(i).

       Agencies bear the burden to prove that any withheld records are properly exempt

from disclosure and the Court reviews the agencies’ withholding determinations de novo.

See, e.g., DOJ v. Tax Analysts, 492 U.S. 136, 142 n.3 (1989); Citizens for Responsibility




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& Ethics in Wash. v. DOJ, 846 F.3d 1235, 1240 (D.C. Cir. 2017).1 Agencies “must

provide enough information, presented with sufficient detail, clarity, and verification, so

that the requester can fairly determine what has not been produced and why, and the court

can decide whether the exemptions claimed justify the nondisclosure.” Fiduccia v. DOJ,

185 F.3d 1035, 1043 (9th Cir. 1999).

    III.      STANDARD OF REVIEW

           Summary judgment is appropriate “if … there is no genuine issue as to any

material fact and … the moving party is entitled to a judgment as a matter of law.” Fed.

R. Civ. P. § 56(c). “To prevail on a motion for summary judgment, an agency must

demonstrate that ‘each document that falls within the class requested either has been

produced, is unidentifiable, or is wholly [or partially] exempt from the Act’s inspection

requirements.’” Competitive Enter. Inst. v. Office of Sci. & Tech. Policy, 161 F. Supp. 3d

120, 127-28 (D.D.C. 2016) (quoting Goland v. CIA, 607 F.2d 339, 352 (D.C. Cir. 1978)).

“This burden does not shift even when,” as here, “the requester files a cross-motion for

summary judgment.” Prop. of the People, Inc. v. OMB, 330 F. Supp. 3d 373, 380 (D.D.C.

2018) (citation omitted).




1
  EPA attempts to gain undue deference by saying that its declarations are entitled to
“substantial weight,” and its withholdings should be deemed sufficient if “logical” or
“plausible.” Dkt. 19-1 at 11. However, this is not the standard. EPA relies on Wolf v. CIA,
473 F.3d 370, 374 (D.C. Cir. 2007) for this proposition, but the D.C. Circuit in Wolf
reiterated the de novo standard of review and its recitation of the applicable legal
standards was limited to the national security context. See also, e.g., Hamdan v. DOJ,
797 F.3d 759, 769 (9th Cir. 2015) (recognizing limitation); ACLU v. CIA, 892 F. Supp.
2d 234, 241-42 (D.D.C. 2012); Hall v. CIA, 668 F. Supp. 2d 172, 188 (D.D.C. 2009);
McGehee v. DOJ, 362 F. Supp. 3d 14, 20 (D.D.C. 2019). This is not a national security
case.

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   IV.      ARGUMENT

         A. EPA entirely failed to address its redactions to dozens of records, thereby
            conceding they are improperly withheld.

         EPA’s Vaughn index, supporting declaration, and briefing entirely failed to

address dozens of records that EPA redacted. EPA does not address at least 41

attachments to Administrator Wheeler’s calendar that EPA withheld in full or in part

under Exemption 5, see Wilcox Decl. ¶ 39, Ex. 32; EPA does not support its decision to

redact ED_004712_00017738 under Exemptions 5, 6, or 7(F), see Wilcox Decl. ¶ 40, Ex.

33; and EPA does not support its decision to redact ED_004712_00018131 under

Exemption 5, see Wilcox Decl. ¶ 41, Ex. 34. EcoRights did not agree to forego

challenging these records at any time during the conferral process with EPA and EPA has

provided no basis on which it can withhold these records. As a result, EPA has failed to

meet its burden to withhold this information and has effectively conceded that these

disputed records are improperly withheld. EPA must produce these records.

         B. EPA must produce the drafts of the “Awareness Review Memo” as well
            as the allegedly “non-responsive” information it has withheld from
            admittedly responsive records.

         EPA mischaracterizes the nature of the parties’ dispute regarding EPA’s failure to

produce drafts of EPA’s November 16, 2018 memorandum entitled Awareness

Notification Process for Select Freedom of Information Act Releases (“Awareness

Review Memo”) and to produce allegedly non-responsive portions of admittedly

responsive records in an attempt to improperly insert the more deferential standard for

assessing the adequacy of an agency’s search for records. Dkt. 19-1 at 4-11 (attempting to

frame these as adequacy of search issues). However, try as it may, EPA cannot escape the




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de novo standard of review properly applied to these disputes by binding D.C. Circuit

precedent and must produce these improperly withheld records.

                1. EcoRights’ FOIA Request included drafts of the Awareness
                   Review Memo and EPA has provided no basis on which to
                   withhold those drafts.

       EPA has improperly refused to provide drafts of the Awareness Review Memo,

incorrectly stating that Subpart 8 of the FOIA Request (hereinafter “Subpart 8”) only

requested records widely circulated to EPA employees, not drafts. Dkt. 19-1 at 8-9.

While the FOIA Request certainly included the records EPA produced—including the

final Awareness Review Memo, which EPA does not dispute was properly produced

under Subpart 8—it was not limited to them. The dispute is therefore properly understood

as relating to whether EcoRights’ FOIA Request covered these draft records—the scope

of the request—not whether EPA’s search failed to locate specific files—the adequacy of

EPA’s search.

       Scope of request and adequacy of search are two distinct inquiries with two

distinct standards of review, and determinations on scope of request, the dispute here, are

made de novo with no deference to the agency. See, e.g., Nation Magazine v. U.S.

Customs Serv., 71 F.3d 885, 889-90 (D.C. Cir. 1995) (determining scope of request with

no deference to agency interpretation and then subsequently, in a separate section,

considering adequacy of search); Inst. for Justice v. IRS, 941 F.3d 567, 571, 572-73 (D.C.

Cir. 2019) (directing district court on remand to determine scope of request and only then

to determine adequacy of search); Conservation Force v. Ashe, 979 F. Supp. 2d 90, 97

(D.D.C. 2013) (“To evaluate the adequacy of an agency’s search, a court must

first review the record de novo to ensure that the agency properly ascertained the scope of




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the FOIA request.”). EcoRights’ FOIA Request, as written, made clear that EcoRights’

was requesting a set of records that included drafts of the Awareness Review Memo.

However, even if that were not clear at the outset, which EcoRights disputes, the

subsequent, extensive clarification discussions amongst the parties removed any possible

doubt as to this point long ago.

       Subpart 8 of EcoRights’ FOIA Request explicitly sought “all documents

constituting, memorializing, explaining or commenting upon the following:… any

instructions, directive, plan, policy, practice, or memorandum to EPA staff concerning

how to review and/or respond to” FOIA requests (hereinafter “Subpart 8”). Dkt. 19-6 at

2-4 (emphasis added). The Awareness Review Memo sets out EPA’s policy of providing

politically sensitive FOIA records to EPA political appointees before they are released to

the public. See Wilcox Decl. ¶¶ 49-50, Exs. 44, 45. The Awareness Review Memo is

clearly within the set of records covered by Subpart 8, EPA produced the Memo in

response to Subpart 8, and EPA does not dispute that Subpart 8 covers the final version

of the Memo. However, EPA’s argument that drafts of the Awareness Review Memo

were not included in EcoRights’ request completely ignores the above, italicized

language, which applies to all following subparts of the Request, including Subpart 8. In

short, EPA’s overly narrow reading of the FOIA Request is at odds with the plain

language of the Request and is contrary to what has been well settled law for at least 30

years, that agencies have “a duty to construe … FOIA request[s] liberally.” See,

e.g., Nation Magazine, 71 F.3d at 890 (citing, e.g., Truitt v. Dep’t of State, 897 F.2d 540,

545 (1990) (discussing “liberal standard for identification” of records)); Inst. for Justice,

941 F.3d at 572.




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       First, it is tautological that the word “all” means “all” and admits of no

exceptions. See, e.g., In re Grand Jury Subpoena, 912 F.3d 623, 628 (D.C. Cir. 2019)

(“‘All’ means ‘all’; the provision contains no carve-out…”); United States v. Serafini,

826 F.3d 146, 150 (4th Cir. 2016) (“[T]he use of the word ‘all’ [as a modifier] suggests

an expansive meaning because ‘all’ is a term of great breadth.”). In addition, the word

“or” is disjunctive, “that is, the words it connects are to ‘be given separate meanings.’”

United States v. Woods, 571 U.S. 31, 45-46 (2013) (citation omitted). As a result, the

FOIA Request is properly read to include every record that constitutes, memorializes,

explains, or comments on any of the categories of information in the subparts of the

FOIA Request, including Subpart 8. EPA does not dispute that Subpart 8 includes the

Awareness Review Memo, and EPA’s reading eliminating drafts from the scope of the

FOIA Request fails to give effect to the words that EcoRights used. The expansive,

inclusive language EcoRights used was “sufficient to alert” EPA that EcoRights sought

drafts of the Awareness Review Memo. See Nation Magazine, 71 F.3d at 890.

       Second, even if the language used in Subpart 8 were not enough to alert EPA to

the fact that EcoRights sought draft documents, the subsequent communications between

the parties removed any basis for doubt, reasonable or otherwise. Subsequent

communications between the parties to a FOIA dispute are routinely used to clarify the

scope of FOIA requests, which oftentimes requires the agency to produce more records

even after a purportedly final production has been made. See, e.g., ACLU of N. Cal. v.

FBI, No. 12-03728, 2014 U.S. Dist. LEXIS 130501, at *2-3 (N.D. Cal. Sep. 16, 2014)

(request clarified after complete production during litigation, resulting in production of

additional records); Leopold v. DOJ, 130 F. Supp. 3d 32, 43 (D.D.C. 2015) (discussing




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clarification); Jarvik v. CIA, 741 F. Supp. 2d 106, 115 (D.D.C. 2010); Kenney v. DOJ,

603 F. Supp. 2d 184, 188 (D.D.C. 2009). Indeed, in the course of negotiating the

production schedule in this case, EcoRights provided additional guidance to EPA on

August 8, 2019 relating specifically to Subpart 8 that explicitly stated that drafts were

within the scope of this section. See Wilcox Decl. ¶ 26, Ex. 19 (“This would include any

draft and/or final EPA regulations implementing FOIA and any records related

thereto.”) (emphasis in original). In subsequent communications, EcoRights continued to

maintain that drafts of Subpart 8 records were within the scope of the FOIA Request. Id.

¶ 26, Ex. 20. However, upon receiving EPA’s purported final production of records,

EcoRights became aware of at least two categories of records that EPA had failed to

produce. Id. ¶ 29, Ex. 25 at 1-2, 4. Namely that EPA had omitted attachments to

Administrator Wheeler’s calendars and drafts of the Awareness Review Memo. Id.

EcoRights communicated these shortcomings, amongst other issues, to EPA on April 23,

2020. Id.

       EPA, by searching for and producing the attachments to Administrator Wheeler’s

calendar after EcoRights’ April 23, 2020 communication implicitly accepted that this was

still a proper time to clarify the FOIA Request and have EPA produce additional records,

but then inexplicably refused to produce the drafts of the Awareness Review Memo. Id.

¶¶ 30-31, Exs. 26, 27. EPA does not argue that it did not receive EcoRights’ several

gratuitous clarifications regarding drafts of Subpart 8 records, and the Awareness Review

Memo in particular, or that it searched for drafts and did not locate specific files that

EcoRights contends exist, its position is instead effectively that it does not want to

produce these records. Dkt. 19-1 at 8-9. This is not acceptable.




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        EcoRights has made it abundantly clear that these Awareness Review Memo

drafts are, and always have been, part of EcoRights’ FOIA Request under Subpart 8.

Regardless of whether EPA unreasonably misread the language of the FOIA Request

when it was originally submitted to exclude these drafts or not, EPA may not now

“ignore what it cannot help but know.” See Kowalczyk v. DOJ, 73 F.3d 386, 389 (D.C.

Cir. 1996). Based on the parties’ extensive clarifying communications, even if EPA did

not originally know drafts were within the scope of the FOIA Request, it could not “help

but know” they were included no later than August 8, 2019 or, at the very latest, April 23,

2020.

        Contrary to EPA’s implication, EcoRights is not attempting to expand the FOIA

Request. Indeed, it is clear that EcoRights has actually attempted to work with EPA to

narrow the FOIA Request wherever possible. See Wilcox Decl. ¶ 26, Ex. 19 (narrowing

several subparts of the FOIA Request, but also clarifying that Subpart 8 includes draft

records). However, EcoRights did request, and continues to request, drafts of the

Awareness Review Memo under Subpart 8. EPA has put no claim before the Court that

these drafts are exempt from production, and EPA’s failure to provide these records

violates FOIA.

                 2. EPA wrongfully withheld allegedly non-responsive information
                    from admittedly responsive records.

        EPA’s refusal to produce the allegedly non-responsive information in its

admittedly responsive records here is inconsistent internally, is inconsistent with its

recent practices, and is in violation of binding case law and DOJ guidance. EPA must

produce this non-exempt information.




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       First, EPA’s position is that the Administrator’s calendar is saved in a program

and that EPA’s process of exporting that calendar to create a producible record is the

source of the withheld, allegedly non-responsive, “header” and “footer” information. Dkt.

19-1 at 9-10. However, EPA’s argument admits that this information is inextricably

integrated into the record itself. As a result, EPA’s explanation of the creation of the

record is internally inconsistent with its position that this information is a separate record.

       Second, EcoRights and EPA had a similar dispute in EcoRights v. EPA, 18-cv-

394 (N.D. Cal.) with regard to similar headers and footers that were part of former

Administrator Pruitt’s calendar. See Wilcox Decl. ¶ 44. However, instead of digging in

on this unsupported line of argument, EPA produced the wrongfully redacted information

on June 4, 2020 without the need for litigation. Compare Wilcox Decl. Exs. 36-38 (non-

responsiveness redactions in place) with Wilcox Decl. Exs. 39-41 (non-responsiveness

redactions removed). As a result, EPA’s refusal to produce this wrongfully withheld

information here is inconsistent with its response to the same Plaintiff pointing out

virtually identical wrongful redactions to the same type of records just three months ago.2




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  Notably, EPA’s withholding of this information is also contrary to its position in
Citizens for Responsibility & Ethics in Wash., et al., v. EPA, 19-cv-2181 (D.D.C.). In that
consolidated case, EPA has denied Plaintiffs EcoRights and Our Children’s Earth
Foundation’s claims that EPA’s 2019 FOIA regulations illegally purport to allow it to
redact allegedly non-responsive information from responsive records and has also
repeatedly denied any intention to ever do so. See id. Wilcox Decl. ¶¶ 52-53, Ex. 48 at
38-45 (PDF pages, not footer numbered pages), Ex. 49 at 19-26 (PDF pages, not footer
numbered pages). In fact, EcoRights discussed the non-responsiveness withholdings at
issue in here in its summary judgment briefing in CREW v. EPA shortly before EPA took
its strained position in this litigation. See Wilcox Decl. Ex. 49 at 19-20 (PDF pages, not
footer numbered pages. This indicates that EPA’s position now is merely a post hoc
rationale provided in an attempt to avoid admitting that its non-responsiveness
withholdings here are improper so that this information is not put before the Court in
CREW v. EPA.

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       Third, EPA’s withholdings here are contrary to binding D.C. Circuit precedent,

which prohibits agencies from withholding non-responsive information from a responsive

record absent a FOIA exemption on point. Am. Immigration Lawyers Ass’n v. Exec.

Office for Immigration Review, 830 F.3d 667, 677 (D.C. Cir. 2016). This information is

all part of the produced records, EPA’s withholdings here “cannot be squared with

[FOIA’s] statutory scheme,” and EPA’s withholding of this information is prohibited by

AILA. See id. at 670.

       Finally, DOJ guidance, cited favorably in AILA (Id. at 678), clearly states, “[f]irst

and foremost, information should not be determined to be beyond the scope of a request

on less than a page-by-page basis. In other words, there should be no [responsiveness

redactions] within any document page. If any of the information on a page of a document

falls within the subject matter of a FOIA request, then that entire page should be included

as within the scope of that request.” Wilcox Decl. Ex. 35 at 3. This guidance also says

that “[i]n any instance in which a requester disagrees [with a responsiveness

determination], the document pages involved should be included without question by the

agency.” Id. (emphasis added). EPA’s strained attempt to define “record” here in order to

withhold information on less than a page-by-page basis is inconsistent with both FOIA

and this DOJ guidance, especially after EcoRights has objected to such withholding.

       The only case comparison that EPA cites in support of its position is Shapiro v.

CIA, 247 F. Supp. 3d 53, 73-75 (D.D.C. 2017). EPA states “that the FBI did not violate

AILA [in Shapiro] where it withheld non-responsive portions of a multi-topic document

based on the FBI’s determination of what constitutes a record,” but Shapiro is readily

distinguishable. Dkt. 19-1 at 10. In Shapiro, the Court upheld the FBI’s decision to




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segregate and produce a few discrete responsive pages from much larger non-responsive

manuals and reports to avoid exponentially increasing the amount of time, labor, and cost

required to review records for exemptions. 247 F. Supp. 3d at 74, 75. Here, the redacted

information is on the very same page as the information EPA admits is responsive. In

fact, ironically, EPA’s redaction of this innocuous information was actually more work

than just producing the information, which EPA nowhere contends is exempt from

disclosure. In Shapiro, the FBI’s position was also based on “long-standing practices and

guidance from DOJ,” id. at 74, but here EPA’s parsing of responsiveness at less than the

page level is inconsistent with the above-referenced DOJ guidance and indeed is

inconsistent with how EPA treated this identical issue just three months ago in EcoRights

v. EPA, 18-cv-394 (N.D. Cal.). Shapiro simply does not support EPA’s position here.

       C. EPA has wrongfully invoked FOIA’s exemptions to withhold information
          and records that are not exempt from disclosure.

       Notably, EPA has offered no argument in its briefing, Vaughn index, or

supporting declaration that any of the records discussed until this point are subject to a

FOIA Exemption. EPA has thereby conceded that the above records are not subject to

any exemption(s). This is determinative as to those files because, as discussed above, it is

EPA’s burden to prove, subject to the Court’s de novo review, that an exemption properly

applies. DOJ v. Tax Analysts, 492 U.S. at 142 n.3; CREW v. DOJ, 846 F.3d at 1240.

However, even where EPA has offered argument that an exemption applies to the records

at issue, those arguments fail. Because EPA has failed to show that the records discussed

below are exempt from disclosure, EPA’s withholding of these records violates FOIA. As

a result, EPA should be ordered to produce these wrongfully withheld records.




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               1. EPA has wrongfully redacted many records under the deliberative
                  process privilege that are neither predecisional nor deliberative.

       The deliberative process privilege, the only Exemption 5 privilege that EPA

claims for any disputed records, only protects records that are both predecisional and

deliberative. See, e.g., Nat’l Inst. of Military Justice v. Dep’t of Defense, 512 F.3d 677,

680 n.4 (D.C. Cir. 2008). To determine whether a record is predecisional, the Court

simply looks to whether it “was generated before the adoption of an agency

policy.” Judicial Watch v. FDA, 449 F.3d 141, 151 (D.C. Cir. 2006) (emphasis added).

This creates a hard temporal cutoff at the time of an agency’s policy decision.

Additionally, for a record to be deliberative, it “must be a direct part of the deliberative

process in that it makes recommendations or expresses opinions on legal or policy

matters.” Vaughn v. Rosen, 523 F.2d 1136, 1143-44 (D.C. Cir. 1975). In other words,

“[t]he privilege does not protect a document which is merely peripheral to actual policy

formation…” Ethyl Corp. v. EPA, 25 F.3d 1241, 1248 (4th Cir. 1994). Furthermore, the

D.C. Circuit has emphasized, time and again, “the narrow scope of Exemption 5 and the

strong policy of the FOIA that the public is entitled to know what its government is doing

and why.” See, e.g., Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 868

(D.C. Cir. 1980). Accordingly, “the exemption is to be applied ‘as narrowly as consistent

with efficient Government operation.’” Id. (quoting S. Rep. No. 813, 89th Cong., 1st

Sess. 9 (1965)); see also Section IV.D, infra (discussing ongoing Congressional concern

with abuse of Exemption 5 and ongoing attempts to constrain its use further).




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                       a. EPA has improperly redacted certain talking points and
                          briefing materials under the deliberative process privilege.

       Citing three district court cases, EPA states that talking points and briefing

materials are categorically exempt from disclosure under the deliberative process

privilege. Dkt. 19-1 at 16-17. However, EPA’s attempt to create a blunt, bright line rule is

contrary to law and should be ignored. The deliberative process privilege does not lend

itself to bright line rules because it “is so dependent upon the individual document and

the role it plays in the administrative process.” Elec. Frontier Found. v. DOJ, 826 F.

Supp. 2d 157, 167-68 (D.D.C. 2011). The question is not whether a record fits in some

broadly defined category of records, as EPA contends, it is whether it is predecisional and

deliberative. Military Justice, 512 F.3d at 680 n.4.3 As a result, many courts have rejected

agency invocations of the deliberative process privilege for these, and similar, types of

records, whether labeled “draft” or not, where the agency has failed to prove the records

meet the requirements that every record must meet in order to be withheld under the

privilege.4 EPA has failed to show that the specific records it has withheld are exempt

and EPA must therefore produce these wrongfully withheld records.



3
  To the extent that the district court decisions EPA has identified purport to set out
categorical rules regarding these, or any other, types of records, they are wrongly
decided, conflict with binding precedent, are contrary to the deliberative process
privilege, and should be ignored for the reasons discussed herein.
4
  See, e.g., Trea Senior Citizens League v. Dep’t of State, 923 F. Supp. 2d 55, 69 (D.D.C.
2013) (“TREA I”); Trea Senior Citizens League v. Dep’t of State, 994 F. Supp. 2d 23, 36-
38 (D.D.C. 2013) (“Trea II”); Khatchadourian v. Def. Intelligence Agency, No. 16-311,
2020 U.S. Dist. LEXIS 48009, at *85-89 (D.D.C. Mar. 19, 2020); Mayer, Brown, Rowe
& Maw LLP v. IRS, 537 F. Supp. 2d 128, 139 (D.D.C. 2008); Elec. Frontier Found., 826
F. Supp. 2d at 167-69 (D.D.C. 2011); Elec. Privacy Info. Ctr. v. DOJ, 511 F. Supp. 2d 56,
71 (D.D.C. 2007); Chattler v. United States, No. 07-4040, 2009 U.S. Dist. LEXIS 43304,
at *4 (N.D. Cal. May 12, 2009); First Resort, Inc. v. Herrera, No. 11-5534, 2014 U.S.
Dist. LEXIS 34077, at *12, 13-14 (N.D. Cal. Mar. 10, 2014); Columbia Riverkeeper v.
U.S. Army Corps of Eng’rs, 38 F. Supp. 3d 1207, 1219-20 (D. Or. 2014); NRDC v. EPA

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       First, “[t]he deliberative process privilege does not shield documents that simply

state or explain a decision the government has already made…” In re Sealed Case, 121

F.3d 729, 737 (D.C. Cir. 1997). However, EPA has tried to withhold numerous records

that only explain policy decisions that it has already made.

       For example, EPA withholds information that amounts to talking points and

topics for discussion from records that Administrator used for telephone calls with

Senator Tom Carper, Senator John Cornyn, Senator Tom Udall, Governor Kim Reynolds,

Senator Lisa Murkowski, and a reporter for the Washington Examiner newspaper. See

Wilcox Decl. ¶ 55, Ex. 51 (compiling ED_004712_00017552; ED_004712_00017727;

ED_004712_00017816; ED_004712_00017838; ED_004712_00017961;

ED_004712_00017919). EPA claims that it was able to withhold this information under

the deliberative process privilege because it was predecisional and deliberative. See Dkt.

19-4 at 16-17, 19-20, 20-21, 21-22, 23-24, 22-23. However, none of these people have

responsibility for setting EPA policy, and it appears that the conversations merely

focused on policy decisions EPA had already made and introductions. EPA’s position

misrepresents the law, and these records are not exempt from disclosure.

       Where talking points discuss decisions already made, this Court has held that they

are not properly withheld under the deliberative process privilege because they are not

predecisional to any actual agency decision. See, e.g., Trea II, 994 F. Supp. 2d at 36-38.

Similarly, “a document that does nothing more than explain an existing policy [also]



(“NRDC v. EPA I”), No. 17-5928, 2019 U.S. Dist. LEXIS 207268, at *3-6 (S.D.N.Y.
Dec. 2, 2019); ACLU of Mass., Inc. v. Immigration & Customs Enf’t, No. 19-10690, 2020
U.S. Dist. LEXIS 50703, at *18-20 (D. Mass. Mar. 24, 2020); MacNamara v. City of
N.Y., No. 04-9216, 2007 U.S. Dist. LEXIS 28956, at *6-13 (S.D.N.Y. Apr. 20,
2007); N.Y. Times Co. v. Dep’t of Defense, 499 F. Supp. 2d 501, 513-15 (S.D.N.Y. 2007).

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cannot be considered deliberative under Exemption 5.” Id. at 35 (quoting Pub. Citizen,

Inc. v. OMB, 598 F.3d 865, 876 (D.C. Cir. 2009)) (internal punctuation omitted). EPA’s

plan for how to spin a policy decision that it has already made, unlike the policy decision

itself, is not a decision for deliberative process privilege purposes. Notably, as in Trea II,

EPA has neither shown that these records predate, in whole or in part, any relevant

agency policy decision that they discuss—that they are predecisional—nor that they were

part of the decisionmaking process for any such decision—that they are deliberative. See

id. at 36-38; see also Pub. Citizen, 598 F.3d at 875-76 (government may only redact

those portions of a predecisional and deliberative record that are themselves a part of a

deliberative policymaking process, not which recount or explain a current policy);

Khatchadourian, 2020 U.S. Dist. LEXIS 48009, at *86-87 (detailed explanation

required). As a result, EPA has failed to show it can withhold these records.

       Similarly, EPA withheld portions of the “Key Messages,” “Background,” and

“Talking Points” sections of a briefing paper that Administrator Wheeler used at a

memorandum of understanding signing ceremony. Dkt. 19-4 at 14-15 (citing

ED_004712_00017459). However, fatally, EPA does not state that this briefing paper

was designed to formulate policy rather than to discuss the decision already reached.

Indeed, the meeting here was to sign a memorandum of understanding, a decision that

was made well in advance and certainly not on the spot at the signing ceremony.

Tellingly, EPA characterizes the alleged decision here as the content of remarks, not the

content of the memorandum of understanding, which was the actual relevant policy




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decision. As a result, this record cannot be predecisional or deliberative as required for

invocation of the deliberative process privilege.5

       EPA has also withheld in full Administrator Wheeler’s talking points for the

Emperor of Japan’s birthday party. See Dkt. 19-4 at 11-12 (citing

ED_004712_00005385). While this is wrong for the same reasons as for EPA’s

redactions of other talking points, it is an even starker example of why EPA’s position is

cannot be right. To be clear, what to say at someone’s birthday party is not a cognizable

policy decision for deliberative process privilege purposes, even if this includes the

“decision” to discuss some actual, already made policy decisions. If such records were

exempt under the deliberative process privilege, seemingly any agency “decision,” no

matter how innocuous or removed from its policymaking functions, could be exempt. As

a result, this information can be neither predecisional nor deliberative and is a prime

example of EPA’s heavy-handed, unsupported redactions throughout these records.

       Second, EPA has not shown that these “drafts,” even if they would have

otherwise been exempt, were not adopted by EPA or used in its dealings with third

parties.6 This failure is fatal because, “even if the document is predecisional at the time it

is prepared, it can lose that status if it is adopted, formally or informally, as the agency

position on an issue or is used by the agency in its dealings with the public.” Coastal

States, 617 F.2d at 866; Judicial Watch v. USPS, 297 F. Supp. 2d 252, 261 (D.D.C. 2004)

(making clear that either of these is sufficient grounds to lose privilege because “both

5
  EPA’s attempt to withhold the corresponding entry for this event in Administrator
Wheeler’s calendar fails for the same reasons. See Dkt. 19-4 at 7-8 (discussing redaction
to calendar entry for July 11, 2018 from 9:30-10:00 AM).
6
  For example, though EPA says that ED_004712_00004639 was not the final agency
decision, it does not say that no portion of this record was adopted by the Agency. See
Dkt. 19-4 at 10.

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actions involve the exposure of the withheld documents to third parties.”). Indeed, in

discussing “drafts” of “talking points” and “briefing materials,” this Court has previously

stated that “[t]hese document designations are significant because the likelihood that

briefing materials and talking points have been relied upon or adopted as official

positions after their preparation is particularly high.” Elec. Frontier Found., 826 F. Supp.

2d at 171 (citation and internal punctuation omitted). EPA has entirely failed to address

these issues and has therefore failed to meet its burden with regard to these records.7

       Because EPA has failed to show that these records are predecisional and

deliberative, as is required for invocation of the deliberative process privilege, EPA must

produce the records. In the alternative, to the extent the Court determines that any portion

of these records is exempt, EPA must produce all non-exempt portions of these records,

as discussed in the segregability section below. The latter course of action may require in

camera review given that EPA’s heavy-handed redactions have removed all relevant

information from these records in most circumstances.




7
  This possibility of records losing their exempt status also further undercuts EPA’s
numerous attempts to bootstrap its deliberative process privilege claims by stating that
the records say “draft,” “not for distribution,” etc., because these statements are all
irrelevant in determining whether a record is exempt. See, e.g., Arthur Anderson & Co. v.
IRS, 679 F.2d 254, 257 (D.C. Cir. 1982) (“The designation of . . . documents . . . as
‘drafts’ does not end the inquiry, however. Coastal States [, 617 F.2d at 866,] forecloses
the . . . argument that any document identified as a ‘draft’ is per se exempt.”); Citizens for
Responsibility & Ethics in Wash. v. Dep’t of Homeland Sec., 648 F. Supp. 2d 152, 161-62
(D.D.C. 2009); Wilderness Soc’y v. Dep’t of Interior, 344 F. Supp. 2d 1, 14 (D.D.C.
2004). If the record is not exempt to begin with, writing “draft” on it does not make it so.

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                               b. EPA has improperly redacted certain additional
                                  attachments to Administrator Wheeler’s calendar
                                  under the deliberative process privilege that are
                                  merely descriptive, not deliberative.

       In addition to the records discussed above, EPA has also failed to show that

several other attachments to Administrator Wheeler’s calendar that it redacted under the

deliberative process privilege are predecisional and deliberative.

       First, EPA has attempted to withhold a bare “list of topics” in an agenda for a

meeting. Dkt. 19-4 at 15 (citing ED_004712_00017471). However, EPA does not

identify any specific decision this relates to and this bare list of topics would not expose

any deliberations. This agenda “merely state[s] that certain issues were discussed” and is

“descriptive rather than deliberative” as it does not contain personal opinions or

recommendations of the meeting attendees. See MacNamara, 2007 U.S. Dist. LEXIS

28956, at *6-8. As a result, EPA must produce this withheld record.

       Similarly, EPA improperly redacts the issue and timeline sections of a briefing

document. Dkt. 19-4 at 12-13 (citing ED_004712_00005410). However, these pieces of

information only identify the issue for decision, not the resolution of that decision, and

the expected timeline for resolution. These are descriptive and factual pieces of

information, not deliberative ones.

                               c. EPA failed to produce all reasonably segregable
                                  material from files it redacted under the deliberative
                                  process privilege.

       In the alternative, should the Court determine that any portion of the challenged

withheld records are subject to Exemption 5, it should still order EPA to produce the

segregable non-exempt portions of those records. FOIA does not allow agencies to

withhold “reasonably segregable” information from a responsive, but partially exempt,



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record. 5 U.S.C. § 552(b). To meet its burden to show that no reasonably segregable

information exists, the agency “must provide a reasonably detailed justification rather

than conclusory statements to support its claim that the non-exempt material in a

document is not reasonably segregable.” Judicial Watch, v. Dep’t of the Treasury, 802 F.

Supp. 2d 185, 198 (D.D.C. 2011) (citation omitted); see also Wilderness Soc’y v. Interior,

344 F. Supp. 2d at 18-19. As discussed, supra, EcoRights has identified multiple places

where allegedly deliberative material includes factual material, such as material

discussing decisions EPA has already made or a current policy, which is reasonably

segregable and must be produced. See Section IV.C.1.a, supra (discussing

ED_004712_00017552; ED_004712_00017727; ED_004712_00017816;

ED_004712_00017838; ED_004712_00017961; ED_004712_00017919;

ED_004712_00017459; ED_004712_00005385; ED_004712_00017471;

ED_004712_00005410; ED_004712_00005438). This information is not exempt from

disclosure and must be produced, even if the Court finds that any of these records contain

some information that is properly withheld under the deliberative process privilege. See,

e.g., In re Sealed Case, 121 F.3d at 737 (“[t]he deliberative process privilege does not

shield documents that simply state or explain a decision the government has already

made…”); Trea II, 994 F. Supp. 2d at 35 (explaining “a document that does nothing more

than explain an existing policy cannot be considered deliberative under Exemption 5.”)

(citation and internal punctuation omitted); Coastal States, 617 F.2d at 866 (“even if the

document is predecisional at the time it is prepared, it can lose that status if it is adopted,

formally or informally, as the agency position on an issue or is used by the agency in its

dealings with the public.”); Judicial Watch v. USPS, 297 F. Supp. 2d at 261.




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       As one example, EPA fully redacts a briefing paper on the Lead and Copper Rule.

Dkt. 19-4 at 13-14 (citing ED_004712_00005438). However this redaction is overbroad.

As discussed above, EPA cannot redact information that merely restates a decision.

Because this briefing paper would necessarily include information on the Rule as it

presently stood at the time, EPA would have to produce that information at a minimum.

Also, EPA would have to produce anything that was subsequently adopted as the

Agency’s policy as that would represent the culmination of the decisionmaking process,

at least as to that aspect of the policy. EPA has not provided this information and its

redactions therefore are in violation of FOIA.

       In addition to the instances where EcoRights has identified segregable factual

information, EPA has also failed to even actually allege that it has properly segregated

non-exempt information from many of its records. EPA has often phrased its

segregability claims in conditional terms that fail to demonstrate that it actually reviewed

the records for segregable factual information at all. EPA repeatedly makes statements

such as, “[t]o the extent any of the withheld information contains facts, they are

inextricably intertwined…” with deliberative content. See, e.g., Dkt. 19-4 at 6, 7, 11, 12,

13, 14, 15, 16, 18, 19, 20, 22, 23, 24, 27, 28, 29 (emphasis added). EPA’s boilerplate

language does not address whether the record actually contains any factual material and

suggests that EPA did not undertake this analysis for each record, as it is required to do.

Further, these repeated boilerplate assertions that the exempt and non-exempt information

are inextricably intertwined lack the requisite detailed justification (such as a description

of the facts and how they are purportedly inextricably intertwined with the exempt




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portion of the record). See, e.g., Wilderness Soc’y, 344 F. Supp. 2d at 19.8 EPA’s single

paragraph regarding segregability in its supporting declaration, see Dkt. 19-3 ¶ 68, is also

of no help to it here because “a blanket declaration that all facts are so intertwined to

prevent disclosure under the FOIA does not constitute a sufficient explanation of non-

segregability.” See id. As a result, EPA should be ordered to produce all reasonably

segregable information in the withheld records for any records the court determines EPA

may withhold in part. In the alternative, EcoRights requests that the Court review these

records in camera and provide EcoRights with the reasonably segregable information

from the records.

               2. EPA wrongfully redacted information under Exemption 6 where
                  the public interest in disclosure easily outweighs the privacy
                  interest, if any, in withholding.

       Exemption 6 allows agencies to withhold “personnel and medical files and similar

files the disclosure of which would constitute a clearly unwarranted invasion of personal

privacy.” 5 U.S.C. § 552(b)(6). To determine whether “disclosure would constitute a

clearly unwarranted invasion of personal privacy,” the court engages in a two-step

inquiry: (1) determining whether “disclosure would compromise a substantial, as opposed

to a de minimis, privacy interest,” and, if so, (2) “balanc[ing] the individual’s right of

privacy against the basic policy of opening agency action to the light of public scrutiny.”

Nat’l Ass’n of Home Builders v. Norton, 309 F.3d 26, 32 (D.C. Cir. 2002) (citation and

internal quotation marks omitted); Jurewicz v. Dep’t of Agric., 741 F.3d 1326, 1332 (D.C.



8
  Similarly, EPA repeatedly states that “any factual information contained in the entry
reflects the author’s selection of facts from a broad range of available information”
related to the decision EPA alleges allows it to withhold this information under
Exemption 5, which also does not reflect actual analysis and is instead hollow boilerplate.
See Dkt. 19-4 at 6, 8, 11, 12, 13, 14, 15, 16, 18, 19, 21, 22, 23, 24, 25, 27, 28, 29.

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Cir. 2014) (citations omitted). “[U]nless the invasion of privacy is ‘clearly unwarranted,’

the public interest in disclosure must prevail.” Dep’t of State v. Ray, 502 U.S. 164, 177

(1991).

          The D.C. Circuit has laid out a flexible, low bar for the public interest prong:

          The proper inquiry is whether the information “sheds light” on
          government activities … and whether it would “appreciably further”
          public understanding of the government's actions... A public interest exists
          where the public “can more easily determine” whether an agency is in
          compliance with a statutory mandate, … even if “the data will not be
          perfect” with respect to the value of the information that might be derived
          from                             that                          requested…

Jurewicz, 741 F.3d at 1333-34 (internal citations omitted); see also Painting &

Drywall Work Pres. Fund, Inc. v. Dep’t Housing & Urban Dev., 936 F.2d 1300,

1303 (D.C. Cir. 1991) (public interest if information “might provide leads …to

ferret out what government is up to.”) ACLU v. DOJ, 655 F.3d 1, 15 (D.C. Cir.

2011) (courts should “take[] derivative uses into account in evaluating the impact

of disclosure on the public interest”). The D.C. Circuit has long held that,

“[u]nder Exemption 6, the presumption in favor of disclosure is as strong as can

be found anywhere in the Act.” Multi Ag Media LLC v. Dep’t of Agric., 515 F.3d

1224, 1227 (D.C. Cir. 2008) (citation omitted); Jurewicz, 741 F.3d at 1332

(presumption in favor of disclosure “at its zenith” under Exemption 6) (citation

omitted).

          EPA’s attempt to increase Plaintiff’s burden based on Salas v. Office of

the Inspector General, 577 F. Supp. 2d 105 (D.D.C. 2008) is foreclosed by case

law. Dkt. 19-1 at 20. As this Court pointed out in Judge Rotenberng Educ. Ctr.,

Inc. v. FDA, 376 F. Supp. 3d 47, 71 n.8 (D.D.C. 2019), Salas relied on Nat’l




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Archives & Records Admin. v. Favish, 541 U.S. 157 (2004), and Favish dealt with

“Exemption 7, which though narrower in scope than [Exemption 6], is more

protective of privacy interests than Exemption 6 and establishes a lower bar for

withholding information. 541 U.S. at 165-66. In light of the authority on which

Salas relied—as well as the D.C. Circuit’s AILA opinion—Salas is not

persuasive.” See also Jurewicz, 741 F.3d at 1333-34 (rejecting EPA’s proposed

standard).9

                       a. EPA overstates the privacy interest in the travel and
                          restaurant information from Administrator Wheeler’s
                          calendar and ignores the recent controversies at EPA that
                          highlight the public interest in the disclosure of this
                          information.

       EPA improperly withheld information related to Administrator Wheeler’s travel

and locations of lunch and dinner meetings under Exemption 6 despite the strong public

interest in EPA divulging this information. EPA conclusorily overstates Mr. Wheeler’s

privacy interest in this information and understates the public interest. See Dkt. 19-1 at

19. However, EPA’s statements cannot change the fact that these records are not subject

to withholding and must be produced.

       EPA’s sole argument regarding privacy interests is that release “could lead to

harassment as well as unwanted contact by the media and others.” Dkt. 19-1 at 19.

However, this is wholly speculative, especially given that the last calendar EPA produced

was from March 2019, meaning that all of these records relate to activities that occurred

9
 EPA’s reliance on Carter v. Dep’t of Commerce, 830 F.2d 388, 391 n.13 (D.C. Cir.
1987) is also wrong for the reasons identified in Judge Rotenberng, 376 F. Supp. 3d at 71
n.8. And Associated Press v. Dep’t of Defense, 549 F.3d 62, 66 (2d Cir. 2008), to the
extent it states a heavier burden than provided here, is contrary to binding D.C. Circuit
case law and thus cannot set a differing, higher standard. Finally, as discussed below,
EPA’s attempts to withhold some of this information under Exemption 7(C) also fails.

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at least 17 months in the past. Dkt. 19-3 ¶ 41. This long temporal lapse further reduces

the reasonableness of any espoused privacy concerns arising from disclosure of these

wholly past, completed actions.

       EPA also ignores the clear value of these records in reviewing EPA’s conduct.

Administrator Wheeler’s immediate predecessor, former Administrator Pruitt, headed

what was perceived as the most scandal plagued iteration of the EPA ever. See Wilcox

Decl. ¶ 46, Ex. 42. In fact, Mr. Pruitt’s extravagant travel spending triggered an OIG

investigation, which found Mr. Pruitt’s actions wrongful on numerous counts, including:

numerous instances of improper use of first and business class travel, numerous instances

of improper international travel, regular exceedance of hotel per diem rates, and other

unjustified uses of travel funds. See Wilcox Decl. ¶¶ 46, 51, Exs. 42 at 1, 47 at 3, 37-38,

84; Dkt. 19-6 at 18, 21. The investigation determined that this travel resulted in a total of

$123,942 in excess travel spending over just a 10-month period. Wilcox Decl. Ex. 47 at

3. There is a strong public interest in determining whether the scandals of Mr. Pruitt’s

tenure have continued under Mr. Wheeler. The withheld information in these records is

directly relevant to that task and to determining whether the recommendations from the

OIG investigation are being followed. This strong public interest easily overrides EPA’s

doubtful, speculative privacy interest argument.

       Similarly, former Administrator Pruitt was notorious for going to lunch and

dinner meetings at expensive restaurants at great taxpayer expense. See, e.g., Wilcox

Decl. Ex. 43 at 3 (discussing Pruitt’s favorite upscale restaurant and stating that “Pruitt

and aides spent hundreds of dollars each on a meal footed by taxpayers in Rome.”). As a

result, even if EPA had identified a legitimate privacy interest in the restaurant names,




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which EcoRights disputes, the locations where Administrator Wheeler dines are a matter

of public interest based on the extravagant and newsworthy practices in this regard from

EPA’s immediate past. Without this information, the public will be unable to determine

whether these irresponsible expenditures are continuing under Administrator Wheeler.

                       b. EPA’s speculative privacy interest argument regarding the
                          identity of members of Administrator Wheeler’s personal
                          security detail must yield to the public interest in the
                          disclosure of this information.

       EPA improperly withholds the names of individuals serving on Administrator

Wheeler’s personal security detail (“PSD”) under Exemptions 6 based on trumped up

claims that disclosure of their names would result in threats and harassment. Dkt. 19-1 at

20-21. Not only does EPA fail to provide any reason why the innocuous act of serving on

a security detail would be controversial at all, much less likely to draw threats and

harassment,10 but EPA again ignores the high public interest in this information.11

       While the identity of members of an EPA Administrator’s security detail may

have potentially been a subject of lesser public interest in the past, that changed with

former Administrator Pruitt. During his tenure, Mr. Pruitt allegedly insisted on a 24/7

security detail costing around $3.5 million in his first year alone. See Wilcox Decl. Ex. 42

at 5-6; Wilcox Decl. Ex. 47 at 3; Dkt. 19-6 at 18. This detail was reportedly over three

times as large as for previous EPA Administrators. Dkt. 19-6 at 20. An EPA Office of the

Inspector General report, produced under the FOIA Request, found that the $3.5 million

10
   This Court has repeatedly made clear that claims of harm must be plausible, based in
fact, and well-explained, not conclusory like EPA’s statements here. See, e.g., Judicial
Watch v. Dep’t of the Navy, 25 F. Supp. 3d 131, 142-43 (D.D.C. 2014).
11
   EPA also attempts to bootstrap its weak privacy interest claims by arguing that release
of this information would cause potential interference with the PSD agents’ discharge of
their duties, but the cognizable interests are in personal privacy, not in job duties. See
Judicial Watch v. Navy, 25 F. Supp. 3d at 143. EPA’s claims are misplaced.

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dollar cost of the PSD during this time period was a 110 percent increase over the

previous period. Wilcox Decl. Ex. 47 at 3. This report also found that there were no final

standard operating procedures, meaning that inappropriate, over the top staffing was

possible into the future. Id. Not only does this appear to be an unreasonable increase in

staffing from a fiscal perspective, but it is also concerning because these PSD agents

were apparently pulled from the EPA’s Criminal Investigation Division (“CID”). Id. at

13; Dkt. 19-3 ¶ 44. The EPA OIG investigation found that in 2017 many of these PSD

agents were permanently transferred from CID to Pruitt’s security detail “with no

significant responsibilities for investigating environmental crimes.” Wilcox Decl. Ex. 47

at 13. This is concerning because it may leave a gap in enforcement of certain

environmental laws, which poses clear threats to public health and the environment.

Knowing who these people are would allow the public to assess the effects of these

reductions on environmental enforcement actions and to assess whether EPA is still

overstaffing the PSD, an action that led to three OIG investigations and a House

Oversight Committee investigation under Mr. Pruitt’s tenure. Dkt. 19-6 at 20.

       In addition, EPA attempts to withhold these PSD members’ email addresses.

However, it does not appear that these individuals have any independent privacy interest

in their email addresses. For example, CID agents William Oros and Kim Bahney were

identified by name in United States v. Scaccia, No. 11 CR 0533, 2012 U.S. Dist. LEXIS

82753, at *17 (N.D. Ill. June 8, 2012) and United States v. El-Sherif, No. 17-20006-01-

JAR, 2018 U.S. Dist. LEXIS 124829, at *1 (D. Kan. July 26, 2018) respectively, and

counsel for EcoRights was readily able to identify these individuals’ email addresses on

EPA’s publicly available Staff Directory merely by searching their names. See Wilcox




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Decl. ¶ 45. As a result, EPA’s argument that the PSD agents have a privacy interest in

these email addresses lacks any basis in fact.

            3. EPA’s attempt to withhold the identities of members of Administrator
               Wheeler’s personal security detail under Exemption 7(C) fails for the
               same reasons as its attempts to do so under Exemption 6 and for the
               additional reason that the records at issue are not law enforcement
               records.

        EPA’s attempt to withhold the identity of the members of Administrator

Wheeler’s PSD under Exemption 7(C) also fails. Exemption 7(C) is similar to Exemption

6 in that it weighs privacy interests against the public interest in disclosure, but it is of

narrower applicability in that it only applies to privacy interests in information that is in

“records compiled for law enforcement purposes.” See 5 U.S.C. § 552(b)(7)(C). “To

qualify as law enforcement records, the record must arise out of ‘investigations which

focus directly on specifically alleged illegal acts which could, if proved, result in civil or

criminal sanctions.’” Bartko v. DOJ, 898 F.3d 51, 64 (D.C. Cir. 2018) (citation omitted).

The proponent of the exemption must point to a connection between an individual and a

violation of federal law. Id. Where the agency does not specialize in law enforcement,

such as EPA here, its attempts to withhold information warrant no deference. Id. Internal

agency practices distinct from legal violations are not covered. Id. at 64-65. Here EPA

does not, and cannot, identify any reasonable basis for defining these as law enforcement

records based on the standard above. As a result, these records cannot be exempt under

Exemption 7(C).

        EPA cites Tax Analysts v. IRS, 294 F.3d 71 (D.C. Cir. 2002) to say that records

need not relate to an identifiable investigation to be covered by Exemption 7(C), but

ultimately that case only said that “internal agency materials relating to guidelines,




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techniques, sources, and procedures for law enforcement investigations and

prosecutions,” were also exempt in that case. Id. at 79. This focus on guidelines and

similar materials is important and makes sense given that Exemption 7(E), not 7(C) as in

Bartko, was at issue in Tax Analysts, which protects certain records that “would disclose

techniques and procedures for law enforcement investigations or prosecutions, or would

disclose guidelines for law enforcement investigations or prosecutions.” 5 U.S.C. §

552(b)(7)(E). The records at issue here do not implicate techniques and procedures, and

the general requirement, applicable to Exemption 7(C), that the records are related to a

specific investigation applies. See Bartko, 898 F.3d at 64.

       In addition, even if these records did qualify as law enforcement records, EPA

fails to provide a cognizable privacy interest here. Exemption 7(C) is designed to protect

the interest of “suspects, witnesses, or investigators, ‘in not being associated

unwarrantedly with alleged criminal activity.’” Dunkelberger v. DOJ, 906 F.2d 779, 781

(D.C. Cir. 1990) (quoting Stern v. FBI, 737 F.2d 84, 91-92 (D.C. Cir. 1984)). That is

because “the privacy interests at stake in an Exemption 7(C) analysis are those resulting

from the stigma of being associated with a criminal investigation.” Tokar v. DOJ, 304 F.

Supp. 3d 81, 99 (D.D.C. 2018) (citations omitted). Where this stigma is absent, as here,

there is no cognizable privacy interest under Exemption 7(C). Id. As a result, the public

interest in this information, discussed above with regard to Exemption 6, necessarily

outweighs this nonexistent privacy interest. Indeed, EPA does not cite to a single case,

and EcoRights is aware of none, where an agency was actually allowed to withhold the

names and email addresses of members of a security detail. This information simply does

not fall within the narrow purview of Exemption 7(C).




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               4. Exemption 7(E) has no application to EPA’s withholding of White
                  House meeting locations.

       EPA argues that it can withhold, under Exemption 7(E), the identity of rooms in

the White House where certain meetings took place. However, Exemption 7(E) only

permits withholding of “records or information compiled for law enforcement purposes,

but only to the extent that the production of such law enforcement records or information

… would disclose techniques and procedures for law enforcement investigations or

prosecutions, or would disclose guidelines for law enforcement investigations or

prosecutions if such disclosure could reasonably be expected to risk circumvention of the

law.” 5 U.S.C. § 552(b)(7)(E). EPA fails to meet this exemption at every step.

       First, these records were not “compiled for law enforcement purposes,” but

instead to direct attendees to meetings. Id. Second, identification of meeting rooms would

not disclose techniques, procedures, or guidelines “for law enforcement investigations or

prosecutions.” Id. In fact, EPA’s position on these first two factors is so weak that EPA

does not even try to substantively address the incredibly poor fit of Exemption 7(E) to

this withheld information and instead jumps right to claiming that release “could

reasonably be expected to risk circumvention of the law.” Dkt. 19-1 at 22 (citing 5 U.S.C.

§ 552(b)(7)(E)). However, EPA fails here again.

       EPA admits that it must show a “reasonably expected risk” from disclosure. Dkt.

19-1 at 22 (citations omitted). However, the only basis that it provides for its

withholdings is the “high security concerns” of the White House. Id. This generic, broad

argument, if allowed to stand, would leave the exemption untethered from reason and its




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purpose.12 This failure to identify any real, identifiable risk is yet another reason EPA’s

invocation of Exemption 7(E) must fail.

       D. EPA failed to show producing the challenged records would cause
          foreseeable harm.

       Congress passed the FIA in 2016 after finding agencies are engaged in a

“‘growing and troubling trend’ of invoking FOIA exemptions ‘even though no harm

would result from disclosure.’” Ctr. for Investigative Reporting v. U.S. Customs &

Border Prot. (“Investigative Reporting I”), No. 18-2901, 2019 U.S. Dist. LEXIS 223077,

at *20 (D.D.C. Dec. 31, 2019) (quoting 162 Cong. Rec. H3717 (2016); S. Rep. No. 114-

4, at 3). The FIA creates a “presumption of openness” under FOIA by prohibiting

agencies from withholding records, even if they fall within a FOIA exemption, unless the

agency “reasonably foresees that disclosure of the record would harm an interest

protected by” that exemption. See, e.g., Judicial Watch v. Dep’t of Commerce, 375 F.

Supp. 3d 93, 100 (D.D.C. 2019); Ctr. for Investigative Reporting v. Dep’t of Labor

(“Investigative Reporting II”), 424 F. Supp. 3d 771, 780 (N.D. Cal. 2019) (citing 5 U.S.C.

§ 552(a)(8)(A)(i)). “Generic, across-the-board articulations of harm,” “boilerplate,”

and/or “nebulous articulations of harm are insufficient.” See, e.g., NRDC v. EPA (“NRDC

v. EPA II”), No. 17-5928, 2019 U.S. Dist. LEXIS 124353, at *2-4 (S.D.N.Y. July 25,

2019); Judicial Watch v. DOJ, No. 17-832, 2019 U.S. Dist. LEXIS 163473, at *5 (D.D.C.

Sept. 24, 2019). Notably, this standard does not allow record withholding “merely

because public officials might be embarrassed by disclosure, because errors and failures

might be revealed, or because of speculative or abstract fears.” Judicial Watch v. DOJ,

12
  The arguments in EPA’s Vaughn index and Declaration merely continue these
sweeping, broad, implausible arguments and similarly must fail. See Dkt. 19-4 at 4; Dkt.
19-3 ¶ 49.

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2019 U.S. Dist. LEXIS 163473, at *7-8 (citation omitted); see also Investigative

Reporting I, 2019 U.S. Dist. LEXIS 223077, at *22. EPA has not met its burden to show

that releasing the withheld records in issue would cause any cognizable foreseeable harm.

Thus, EcoRights respectfully requests that the Court order production of all challenged

records on a finding of lack of foreseeable harm regardless of whether any exemption

might otherwise apply. See EcoRights v. FEMA, 2017 U.S. Dist. LEXIS 197451, at *16-

17.13

        First, EPA’s claims of harm are too speculative. For dozens of withholdings,

EPA’s Vaughn index14 and supporting declaration15 assert only that disclosure of the

information “could” or “may” result in the type of harm asserted, not that it “will” result

in such harm. However, speculative claims that disclosure “could” or “may” harm a

protected interest per se fail because “[t]he question is not whether disclosure could”



13
   EPA’s failure to demonstrate foreseeable harm is particularly egregious given its many
claimed Exemption 5 withholdings. See generally Dkt. 19-4. Notably, when creating the
foreseeable harm standard, “Congress was especially concerned about agencies’ reliance
on Exemption 5...” Investigative Reporting I, 2019 U.S. Dist. LEXIS 223077, at *20.
Congress pointed to “Exemption five . . . as a particularly problematic exemption,” and
explained further that it “is the most used privilege and the source of the most concern
regarding overuse.” Id. at *20-21 (quoting S. Rep. No. 114-4, at 3; H.R. Rep. No. 114-
391, at 10).
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   See Dkt 19-4 at 2, 3 (“could expose Administrator Wheeler to harassment”); id. at 4
(“could reasonably be expected to risk” harm); id. at 5 (“could expose them to
harassment or danger” and “could interfere with their ability to protect the physical safety
of the Administrator”); id. at 10, 13, 14, 18 (“could cause public confusion”); id. at 4
(“may face embarrassment or disruption with their current employer”); id. at 15 (“may
prematurely disclose federal decisions”).
15
   See Dkt. 19-3 ¶ 43 (“could expose Administrator Wheeler to harassment”); id. ¶ 45
(“could expose them to harassment or danger”); id. ¶ 46 (“could interfere with their
ability to protect the physical safety of the Administrator”); Id. ¶ 49 (“could reasonably
be expected to risk”); Id. ¶ 58 (“could cause public confusion”); Id. ¶ 48 (“Disclosure can
result in embarrassment for the candidate or may have an impact on the current
employment of the candidate”); Id. ¶ 65 (“may prematurely disclose federal decisions”);
Id. ¶ 55 (“disclosure of briefing documents can create public confusion”).

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cause harm, “but rather if it is reasonably foreseeable that it will…. In other words, the

Act requires more than speculation…” Judicial Watch v. Commerce, 375 F. Supp. 3d at

101; see also Amadis v. Dep’t of State, No. 19-5088, 2020 U.S. App. LEXIS 26633, at

*12 (D.C. Cir. Aug. 21, 2020). EPA’s conclusory statements in its brief that harm would

occur are not supported by its own sworn statement and Vaughn index, as discussed

above, and cannot cure this failure. See Dkt. 19-1 at 17.

         Notably, even if these statements were sufficient, EPA’s briefing only addresses

foreseeable harm at all for its Exemption 5 withholdings, thus conceding a lack of harm

for the other redactions. Statements related to weighing are insufficient to address this

“independent and meaningful burden.” See Ctr. for Investigative Reporting v. U.S.

Customs & Border Prot. (“Investigative Reporting III”), 436 F. Supp. 3d 90, 106 (D.D.C.

2019).

         Second, EPA’s general, conclusory articulations of harm fall short. The

foreseeable harm standard creates an “independent and meaningful burden” requiring

EPA to “‘identify specific harms to the relevant protected interests that it can reasonably

foresee would actually ensue from disclosure of the withheld materials’ and ‘connect[]

the harms in [a] meaningful way to the information withheld.’” Investigative Reporting I,

2019 U.S. Dist. LEXIS 223077, at *24 (citation omitted). However, EPA fails to provide

“context or insight into the specific decision-making processes or deliberations at issue,

and how they in particular would be harmed by disclosure.” See Investigative Reporting

I, 2019 U.S. Dist. LEXIS 223077, at *26 (citation omitted); Ctr. For Investigative

Reporting v. Dep’t of Interior (“Investigative Reporting IV”), No. 18-1599, 2020 U.S.

Dist. LEXIS 61201, at *10 (D.D.C. April 7, 2020) (agency must show disclosure of the




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“particular” record will cause reasonably foreseeable harm) (emphasis in original). For

example, with regard to records related to discussions that were never shared with the

public, such as Administrator Wheeler’s discussions with other politicians (see Dkt. 19-4

at 7-8, 14-15, 16-17, 19-20, 20-21, 21-22, 23-24), there is no risk, contrary to EPA’s

assertion, of confusing the public with conflicting messages. See, e.g., ACLU of Mass.,

2020 U.S. Dist. LEXIS 50703, at *21-22.

       Third, in many instances EPA claims foreseeable harm from release of records

related only to completed actions and/or routine government matters that do not rise to

the level of substantial policy decisions. For example, with regards to the postdecisional

records discussed above that only refer to decisions already made, “it is difficult to see

how the quality of a decision will be affected by communications with respect to the

decision occurring after the decision is finally reached; and therefore equally difficult to

see how the quality of the decision will be affected by forced disclosure of such

communications, as long as prior communications and the ingredients of the

decisionmaking process are not disclosed.” NLRB v. Sears, Roebuck & Co., 421 U.S.

132, 151 (1975). As another example, EPA’s overblown concern about releasing

Administrator Wheeler’s birthday party remarks is misplaced because the determination

about what to say does not rise to the level of a cognizable policy decision.

       EPA’s irrational concerns, rooted in withholding information about insignificant

decisions and completed actions, do not amount to the foreseeable harm required to

withhold records. See Rosenberg v. Dep’t of Defense, 342 F. Supp. 3d 62, 79 (D.D.C.

2018) (upholding agency’s foreseeable harm claim for internal deliberations between

high ranking military and Department of Defense officials about highly sensitive




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program, but not as to “more benign, categories of withheld deliberative information”

such as “opinions about the current state of facilities … and recommendations and advice

about maintenance issues…” based on potential “level of harm to the exemption-

protected interest.”); S. Rep. No. 114-4, at 8 (attached as Wilcox Decl. Ex. 50)

(explaining that foreseeable harm will turn on the “age, content, and character” of the

record in question)); Investigative Reporting I, 2019 U.S. Dist. LEXIS 223077, at *27,

28-29 (unclear that disclosure would harm agency where it had already taken the action).

As a result, EPA has failed to show that release of the challenged records would result in

reasonably foreseeable harm and EPA must produce this information.

   V.      CONCLUSION

        For the reasons stated above, EcoRights respectfully requests that the Court deny

EPA’s Motion for Summary Judgment, grant EcoRights’ Cross-Motion for Summary

Judgment, declare that EPA has violated FOIA, and order EPA to produce all wrongfully

withheld records.

        Respectfully submitted on the 7th day of September 2020,

                                      /s/ Stuart Wilcox_____________
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